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 15
 16                         UNITED STATES DISTRICT COURT
 17                       CENTRAL DISTRICT OF CALIFORNIA
 18                                    WESTERN DIVISION
 19
                                              CASE NO. 2:22-cv-04355-JFW-JEM
 20   Yuga Labs, Inc.,
                                              DEFENDANTS’ RESPONSE TO
 21                           Plaintiff,      YUGA’S NOTICE FOLLOWING PRE-
                                              TRIAL CONFERENCE
 22        v.
 23   Ryder Ripps, Jeremy Cahen,              Judge: Hon. John F. Walter

 24                           Defendants.     MIL Hearing Date: June 16, 2023
 25                                           Trial Date: July 7, 2023

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 28   CASE NO. 2:22-CV-04355-JFW-JEM          - 1-   DEFENDANTS’ RESPONSE TO YUGA’S
                                                                             NOTICE
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  1         Defendants respectfully submit this statement in response to Plaintiff Yuga
  2   Labs, Inc.’s (“Yuga”) Notice Following the Pre-Trial Conference Regarding the
  3   Remaining Claims and Issues for Trial, Dkt. 309 (June 12, 2023). Yuga states in its
  4   notice that it has withdrawn its second cause of action (False Advertising) and its
  5   demand for a jury trial. Dkt. 309 at 3.
  6         Defendants maintain their Seventh Amendment jury trial demand on all
  7   remaining issues, and submit that Yuga’s request to withdraw its demand for a jury
  8   trial should be denied.
  9         Defendants are entitled to a jury trial under the Seventh Amendment on several
 10   issues. First, Yuga seeks to recover actual damages, which the Ninth Circuit has
 11   recognized to be a legal (not equitable) issue that entails a right to a jury trial. F21
 12   OpCo, L v. Airwair Int’l Ltd., 2:22-cv-01684-SB-MAA, 2023 WL 2626368, at *2
 13   (C.D. Cal. Feb. 17, 2023) (“A claim to recover a plaintiff’s actual damages caused by a
 14   defendant’s infringement of the plaintiff's trademark is legal.”); Dairy Queen, Inc. v.
 15   Wood, 369 U.S. 469 (1962) (“[A]n action for damages based upon a charge of
 16   trademark infringement [is] no less subject to cognizance by a court of law.”); Jarrow
 17   Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 836 n.5 (9th Cir. 2002)
 18   (“[C]ertain trademark infringement actions trigger a Seventh Amendment right to a
 19   jury trial, which pertains to actions at law.” (citing Dairy Queen, 369 U.S.at 477–78)).
 20   Yuga’s actual damages claim must be tried to a jury.
 21         Second, Yuga seeks statutory damages for its anti-cybersquatting claim under
 22   the ACPA, and Defendants have a right to a jury determination of the amount of
 23   statutory damages. Black v. Irving Materials, Inc., 17-cv-06734-LHK, 2019 WL
 24   13199612, at *3 (N.D. Cal. May 29, 2019) (“Thus, the Court finds that there is ample
 25   authority for trying ACPA claims and the determination of whether to award statutory
 26   damages to a jury.”); Versace v. Awada, 03-CB-3254-GAF, 2009 WL 10673371, at *7
 27
 28 CASE NO. 2:22-CV-04355-JFW-JEM                 - 2-   DEFENDANTS’ RESPONSE TO YUGA’S
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  1   (C.D. Cal. Sep. 4, 2009) (“Strictly construing Rule 38, the Court will not permit
  2   Plaintiff to withdraw its demand for a jury trial because Defendants do not consent, and
  3   because the law holds clearly that Defendant has a right to a jury determination of
  4   statutory damages.”); see also Fetner v. Columbia Pictures Television, Inc., 523 U.S.
  5   340, 353 (1998) (“And there is historical evidence that cases involving discretionary
  6   monetary relief were tried before juries . . . Accordingly, we must conclude that the
  7   Seventh Amendment provides a right to a jury trial where the copyright owner elects to
  8   recovery statutory damages.”).
  9         Third, willfulness remains a central issue of dispute in this case, given Yuga’s
 10   request for a finding that the case is exceptional based on “intentional infringement,”
 11   warranting enhanced damages and attorneys’ fees. See Dkt. 149, at 13 (Yuga
 12   requesting a finding that ““this is an exceptional case of intentional infringement”); see
 13   also SunEarth, Inc. v. Sun Earth Solar Power Co., 839 F.3d 1179, 1181 (9th Cir. 2016)
 14   (adopting “totality of the circumstances” analysis for exceptional case analysis under
 15   Lanham Act, in which willful infringement is a consideration). The Seventh
 16   Amendment guarantees Defendants a right to a jury trial on willfulness. See, e.g.,
 17   Anhing Corp. v. Thuan Phong Co. Ltd., No. 13-cv-05167-BRO (MANx), 2015 WL
 18   4517846, at *8 (C.D. Cal. July 24, 2015) (submitting willfulness to the jury in a
 19   trademark action); Exmark Mfg. Co. Inc. v. Briggs & Stratton Power Prods. Group,
 20   LLC, 879 F.3d 1332, 1337-38 (Fed. Cir. 2018) (“. . . the standard articulated in Halo,
 21   which mandates that willfulness is an issue for the jury, not the district court.” (citing
 22   WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1341 n.13 (Fed. Cir. 2016)); Halo Elecs.,
 23   Inc. v. Pulse Elecs. Inc., 579 U.S. 93, 104-07 (2015); Unicolors, Inc. v. H&M Hennes
 24   & Mauritz L.P., No. 16-cv-02322-AB (SKx), 2018 WL 10307045, at *6 (C.D. Cal.
 25   Aug. 1, 2018) (holding in the context of copyright “that willfulness was a factual issue
 26   for the jury to decide.”).
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 28 CASE NO. 2:22-CV-04355-JFW-JEM                 - 3-   DEFENDANTS’ RESPONSE TO YUGA’S
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  1         Defendants therefore respectfully submit that they remain entitled to a jury trial
  2   on damages for count 1, damages for count 3, and willful infringement for purposes of
  3   Yuga’s claim that the case is exceptional.
  4
  5
      Dated: June 13, 2023                   By: /s/ Louis W. Tompros
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 28 CASE NO. 2:22-CV-04355-JFW-JEM                 - 4-   DEFENDANTS’ RESPONSE TO YUGA’S
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                               CERTIFICATE OF SERVICE
 1
           I hereby certify that a copy of the foregoing document was served on all attorneys
 2
     of record via email June 13, 2023.
 3
 4
                                            By: /s/ Louis W. Tompros
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28 Case No. 2:22-cv-04355-JFW-JEM             -5-      DEFENDANTS’ RESPONSE TO YUGA’S
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